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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

LUBBOCK DIVISION
SEISMIC WELLS, LLC, §
and BARRY TRANCKINO, §
§
Plaintiffs, §
§
v. § Case No. 5:15-cv-00148-C
§
ROSS B. MATTHEWS, SINCLAIR § JURY TRIAL DEMANDED
OIL CORPORATION, THE SINCLAIR, §
COMPANIES, AND SINCLAIR OIL §
and GAS COMPANY, §
§
Defendants. §
JOINT PRETRIAL ORDER

 

Pursuant to this Court’s Order dated July 9, 2015, Plaintiffs Seismic Wells, LLC
(“Seismic Wells”) and Barry Tranckino (“Plaintiffs”) and Defendants Ross B. Matthews,
Sinclair Oil Corporation, The Sinclair Companies, and Sinclair Oil and Gas Company
(“Defendants”), submit this Joint Pretrial Order for the Court’s consideration:

1. Summary of the Claims and Defenses of Each Party

 

A. Plaintiffs’ Contentions:

Using its registered trade name of “Sinclair Oil and Gas Company” to regularly pay
Seismic Wells, Sinclair 1 entered into an oil and gas participation agreement With Seismic Wells
in May 2005 (the “Initial Participation Agreement”). Mere months later, Sinclair l breached the
express terms of the lnitial Participation Agreement by assigning all rights under the agreement
(and licensing proprietary seismic data) to a separate legal entity, Sinclair 2. Sinclair 2 then

assigned those same rights to another entity, Sinclair 3, whose formal name was also “Sinclair

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Oil and Gas Company.” The assignments from Sinclair l to Sinclair 2 and Sinclair 2 to Sinclair
3 were not recorded in Texas and, therefore, were concealed from Plaintiffs.

In September and October 2006, Sinclair 3 represented to Seismic Wells that it was the
same “Sinclair Oil and Gas Company” that was party to the Initial Participation Agreement in
order to obtain a letter of Understanding and a “Replacement Participation Agreement” under
which Sinclair 3 would purchase an “additional” interest” in the Miller Ranch Lease as
replacement property for its 1031 exchange and assume operations on the leasehold property. In
order to abscond with the contractual right to assume operations belonging to Sinclair 1 under
the Initial Participation Agreement, Sinclair 3 made affirmative misrepresentations and violated
duties to disclose that Sinclair 3 was not the same entity that entered into the Initial contract and
performed the acts under that contract in obtaining its rights. As a result, Sinclair 3 concealed
Sinclair l’s breach of the Initial Participation Agreement and secured for itself an additional
(majority) interest in the Miller Ranch Lease and operations of the Lease for 14 years. As soon
as the Replacement Participation Agreement was in effect, Sinclair 1 formally transferred the
trade name of “Sinclair Oil and Gas Company” to Sinclair 3. The transfer was filed in Utah on
December lst, 2006, but not in Texas.

In 2014, Seismic Wells discovered that Sinclair 3 was marketing for sale its interests in
the Miller Ranch Lease. Seismic Wells sought continuation that Sinclair would return
operations to Seismic Wells upon any disposition or transfer of its interest, pursuant to the terms
of the Initial Participation Agreement and the Replacement Participation Agreement. In
response, Sinclair 3 wholly and unequivocally repudiated the terms of the Replacement
Participation Agreement by asserting that (1) Seismic Wells owned no interest in the Miller

Ranch Lease, (2) Sinclair 3 had replaced Seismic Wells as the lessee of the Miller Ranch Lease,

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and (3) Seismic Wells owned no exclusive right to assume operations under the Lease from
inception of the replacement contracts, such that Sinclair 3 could convey the operations certainly
without consent from Seismic Wells. Although it knew these statements to be false and rather
than admitting to its past fraud and previous breaches of several agreements between the parties,
Sinclair 3 decided to post these disparaging statements on a website created to market Sinclair
3’s interests to the oil and gas industry at large, where it was viewed by numerous entities who
are major players in the oil and gas industry.

'l`his is a textbook case of abuse of the corporate form and fraud. When corporate
separateness is inconvenient or against their self-interest, Defendants ignore their corporate form
and treat Sinclair 1, Sinclair 2 and Sinclair 3 as the same entity, When corporate separateness is
beneficial to them, i.e. for purposes of limited liability or tax deferral, Sinclair l, Sinclair 2 and
Sinclair 3 are treated as three separate and distinct entities, capable of making bilateral contracts
with each other to carry out a corporate restructuring Here, Defendants failed to meet their
contractual and legal obligations to Plaintiffs and abused their corporate form in order to defraud

and disparage Plaintiffs.

T he Initial Agreement

In May 2005, Sinclair Oil Corporation (Sinclair l) and Seismic Wells entered into the
Initial Participation Agreement, a long-term, exclusive agreement between Seismic Wells and
Sinclair 1 to develop oil and gas interests on the Miller Ranch Lease, which has a primary term
expiring 2021. The other working interest owners in the Lease had no rights under the Initial
Agreement, but were subject to a Joint Operating Agreement (“JOA”) attached to the Initial
Agreement. Pursuant to this Initial Agreement, Seismic Wells conveyed to Sinclair 1 a 37.5%
interest in the Miller Ranch Lease. Also pursuant to the Initial Agreement, both Seismic Wells

and Sinclair 1 had numerous obligations to be carried out over time. Seismic Wells licensed to

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Sinclair l its proprietary 3D seismic data pertaining to the Miller Ranch lease, and Sinclair 1 was
prohibited from selling, trading or licensing the seismic data to any third party. Further, Sinclair
1 had the right to assume operations at any time, but was obligated to return operations to
Seismic Wells upon any sale, transfer or distribution of Sinclair l’s interest. Sinclair was also
obligated to fund the drilling of nine obligation wells.

The Initial Agreement expressly provided that there were no third party beneficiaries and
the agreement was not binding on successors or assigns. Sinclair l represented and warranted
that it was purchasing the interest solely for its own account and not for resale or distribution to
others; that it understood Seismic Wells relied upon such representation in agreeing to permit the
participation in the project; and that it had the authority to fulfill its obligations and duties as they
became due.

During its dealings and negotiations with Seismic Wells, Sinclair 1 used its trade name
“Sinclair Oil and Gas Company” and its formal name “Sinclair Oil Corporation”
interchangeably. Defendant Ross B. Matthews (Director and Senior VP of Sinclair 2 and
President of Sinclair 3), Scott Mayeda (Defendants’ in-house counsel), and Peter Johnson
(President of Sinclair 1) initialed their approval or signed off on the lnitial Agreement and its
attendant documents and, therefore, had knowledge that Sinclair 1 was the entity entering into
the Initial Agreement with Seismic Wells, and that Sinclair 3 had not.

Sinclair’s Restructuring

Just nine months after signing the Initial Agreement, Sinclair l conveyed its entire
contract rights, interests in the Lease, and other rights under the Initial Agreement, and its
licenses (including the seismic data licensed from Seismic Wells under the Initial Agreement) to

Sinclair 2 through a General Assignment. The General Assignment was made effective February

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1, 2006. Effective the same day, Sinclair 2 conveyed those same assets to Sinclair 3 (formally
“Sinclair Oil and Gas Company”). Thus, the interests obtained under the Initial Agreement by
Sinclair l using the trade name “Sinclair Oil and Gas Company” ultimately came to be held by
Sinclair 3 - a separate entity formally utilizing the same name of “Sinclair Oil and Gas
Company,” Although neither General Assignment was recorded in Borden or Garza Counties
public land records (the location of the Miller Ranch Lease), Defendant Ross B. Matthews, Peter
Johnson and Scott Mayeda had actual knowledge of the restructuring through their participation
in it.

Sinclair 1, Sinclair 2 and Sinclair 3 failed to notify Seismic Wells of the General
Assignments or obtain Seismic Wells’s written permission to assign Sinclair l’s rights under the
Initial Agreement as required by the terms of the Initial Agreement. Notably, although each
General Assignment required novation of the assignor’s contracts, no Sinclair entity ever sought
a novation of the Initial Agreement substituting Sinclair 2 or Sinclair 3 for Sinclair 1. Because it
had no knowledge of assignment of rights by Sinclair 1 to Sinclair 2, Seismic Wells continued to
send oil production run checks to Sinclair l even after the restructuring and Sinclair l cashed
those checks without complaint, as if nothing had changed. Moreover, after the assignment of
rights to the contract by Sinclair 1 to Sinclair 2 then from Sinclair 2 to Sinclair 3, Sinclair 3
continued to pay Seismic Wells on checks from “Sinclair Oil and Gas Company” just as Sinclair
1 had done from inception in 2005, prior to the assignment of rights in the initial contract.

The Replacement Agreement

 

ln September 2006, using its formal name “Sinclair Oil and Gas Company,” Sinclair 3
expressly misrepresented itself as the contracting party to the Initial Agreement and procured a

Replacement Participation Agreement with Seismic. Despite not being negotiated or executed

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by Sinclair l, the Replacement Participation Agreement purported to replace and supersede the
Initial Agreement (a legal impossibility and an attempt to cover up the previous breaches) and
allowed Sinclair 3 to obtain operations of and a controlling interest in the Miller Ranch Lease
(through the purchase of an “additional” interest), as well as tax deferral benefits through an
Intemal Revenue Code §1031 exchange As a non-party to the Initial Agreement, Sinclair 3 had
no right to assume operations of the Lease or to possess or use Seismic Wells’s 3D seismic data.
Through its fraud, Sinclair 3 wrongfully obtained those rights through the Replacement
Agreement without compensating Seismic Wells. Sinclair 3’s fraud also concealed Sinclair 1’s
breach of the Initial Agreement and prevented Seismic Wells from enforcing the Initial
Agreement against Sinclair l in 2006.

Through Matthews, Mayeda, Johnson and Meehan (Haberstick) - each of whom
approved, signed or had actual knowledge of the Replacement Agreement or its attendant
documents -the Sinclair entities all had actual knowledge that Sinclair 3 was not the contracting
party to the Initial Agreement and that the representations made to Seismic Wells in order to
secure the Replacement Agreement were false. On November l, 2006, the effective date of the
Replacement Agreement, Sinclair l formally assigned to Sinclair 3 the use of its trade name
“Sinclair Oil and Gas Company,” The assignment was never filed of record in Texas.

T he June 2014 breach and repudiation

In June 2014, Sinclair 3 marketed its interest in the Miller Ranch Lease for sale
(including the operations it wrongfully obtained through the Replacement Agreement) through
Lantana Energy Advisors. Upon learning that Sinclair was attempting to sell its right to operate
the wells on the Lease (and still without any knowledge that it was dealing with Sinclair 3 rather

than Sinclair 1), Seismic Wells sought assurances that Sinclair would satisfy its obligation to

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return operations to Seismic Wells upon a sale of Sinclair’s interest. Seismic Wells also sought
assurance that Sinclair intended to complete the drilling of all nine obligation wells.

In a letter dated June 20, 2014, Sinclair 3 repudiated the essential terms of the
Replacement Agreement, including that Sinclair 3 made in exchange for Sinclair 3’s operations
Among other things, the letter stated: (1) Seismic Wells owns no leasehold interest nor residual
rights in the Lease; (2) Seismic Wells’s exclusive right to assume operations was assigned to
Sinclair from inception of the replacement agreements; (3) Sinclair could assign the right to
operate certainly without Seismic Wells’s consent; and (4) “Sinclair did not obligate itself to drill
nine wells because “[t]hese were not truly obligation wells.” Sinclair 3 also published these and
other disparaging statements on the website created to market its interests to the oil and gas
industry at large, in an attempt to discredit Plaintiffs.

After receiving this letter, Barry Tranckino, the sole principal of Seismic Wells, began
investigating Sinclair and discovered that the entity operating as “Sinclair Oil and Gas
Company” in June 2014 (Sinclair 3) was not the same “Sinclair Oil and Gas Company” with
whom Seismic Wells had negotiated and executed the Initial Agreement - and with whom
Seismic Wells believed it had negotiated and executed the Replacement Agreement (Sinclair 1).
In late 2014-2015, Tranckino discovered the duplicate use of identical corporate names, the
inaccuracies in the Borden County land records regarding the chain of title to Sinclair’s interest
in the Miller Ranch lease, the name registration violations in the Texas Secretary of State and
Franchise Tax filings, Sinclair 1’s breach of the Initial Agreement, and Sinclair 3’s fraud in
procuring ~ and ultimate breach and repudiation of - the Replacement Agreement, including

Sinclair’s position that it was never obligated to perform the repudiated promises

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1. Breach of Contract

lt is undisputed in this case that the Initial Agreement executed by and between Seismic
Wells and Sinclair 1 was a valid and enforceable contract and no party has claimed any
ambiguity of the terms of the contract. Plaintiffs performed their obligations under the Initial
Agreement, including conveying to Sinclair 1 a 37.5% interest in the Miller Ranch Lease,
providing a copy of the 3D seismic data to Sinclair 1, and drilling the first three obligation wells.
Sinclair 1 breached the Initial Agreement by (1) failing to notify Seismic Wells of assignments
of contractual rights to the Initial Participation agreement from Sinclair l to Sinclair 2 and from
Sinclair 2 to Sinclair 3; (2) failing to obtain Seismic Wells’s written permission to assign the
Initial Agreement’s confidential terms to another entity; (3) licensing the 3D seismic data to
Sinclair 2 and then Sinclair 3; (4) violating its express warranty and representation that it was
purchasing the interest for its own account and not for resale or distribution to others; and (5)
failing to return operations to Seismic Wells upon its distribution to Sinclair 2. These breaches
caused Plaintiffs damages

Plaintiffs also assert that Sinclair 3 breached the Replacement Agreement. Defendants do
not challenge the validity or enforceability of the Replacement Agreement, nor do they claim any
ambiguity. Seismic Wells performed its contractual obligations under the Replacement
Agreement by conveying the “additional” 15.625% interest in the Miller Ranch Lease and by
turning operations over to Sinclair 3. Sinclair 3 repudiated the Replacement Agreement,
evidencing a fixed intent to abandon, renounce, and refuse to perform the essential promise of
the Replacement Agreement, in its letter dated June 20, 2014, in which it stated that: (1) Seismic
Wells owns no leasehold interest nor residual rights in the Lease; (2) Seismic Wells’s exclusive

right to assume operations was assigned to Sinclair; (3) Sinclair could assign the right to operate

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without Seismic Wells’s consent; and (4) Sinclair did not obligate itself to drill nine wells
because “[t]hese were not truly obligation wells.”

Further, Sinclair 3 breached its representation and authority of warranty under the
Replacement Agreement because it had no authority to amend or supersede the Initial
Agreement. Sinclair 3 also breached the Replacement Agreement by refusing to surrender title
and transfer operations of the MSU#Z well to Seismic Wells and instead advertising the Well and
its operations for sale. Sinclair 3’s breach and repudiation of the Replacement Agreement caused
Plaintiffs damages In 2014, Sinclair 3 also breached and repudiated the terms of the Initial
Participation Agreement to the extent it Was assigned

2. Common-law Fraud and Fraud by Non-Disclosure1

Defendants concealed from Plaintiffs the assignment of Sinclair 1’s contractual rights in
the Initial Agreement and of the license to Seismic Wells seismic data made on February ls‘,
2006, and made material misrepresentations to Plaintiffs concealing causes of action as well as
failing to disclose material facts in violation of duties to disclose in order to secure the
Replacement Agreement. Among other things, Defendants misrepresented that Sinclair 3 was
the same entity that had negotiated and executed the Initial Agreement with Seismic Wells, and
that Sinclair 3, therefore, had a contractual right to assume operations and was acquiring an
“additional” interest in the Miller Ranch Lease, Defendants also made the material
misrepresentation that Sinclair 3 was the party to the lnitial Agreement for the essential purpose
of amending, and then replacing and superseding the initial agreement such that the
Replacement Agreement was to be the only agreement among the parties covering the Miller
Ranch acreage. Defendants also represented that “Sinclair Oil Corporation” (Sinclair 1) owned a

53.125% interest in the Miller Ranch Lease, and that the contract was made Sinclair Oil and Gas

 

1 The common law fraud, fraud by non-disclosure and false promises claims are also statutory fraud claims

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Company with Tax Id **0230188 (Sinclair 1’s Tax Identification Number). These material
misrepresentations were false and were known by Defendants to be false (or at a minimum were
made recklessly without knowledge of their truth). Defendants made these misrepresentations
with the intent that Plaintiffs rely on them; Defendant’s had knowledge that Seismic Was
continuing to rely on the material Plaintiff did, in fact, rely on the misrepresentations to their
detriment, suffering damages

Defendants had a duty to fully disclose the true chain of title when making a partial
voluntary disclosure, and to correct Defendants’ material misrepresentations including
concealing from or failing to disclose material facts to Plaintiffs, including but not limited to (1)
the assignment of contract rights and license of the seismic data from Sinclair l to Sinclair 2 to
Sinclair 3 and (2) that the Sinclair entity negotiating and executing the Replacement Agreement
was n_ot the same entity that had entered into the Initial Agreement The non-disclosed
information was material and Defendants knew that Plaintiffs were neither aware of the true facts
nor had the equal opportunity to discover those true facts Defendants’ silence was intentional,
and Defendants intended Plaintiffs to rely on the silence. Plaintiff relied on the
misrepresentations and omissions material to the transaction to their detriment, suffering
damages

3. Statutory Fraud

Plaintiffs and Defendants were party to transactions involving real estate, specifically
working interests in the Miller Ranch oil and gas lease. During these transactions as set forth
above, Defendants concealed material facts and made misrepresentations of fact and/or false
promises and/or benefitted by not disclosing that the representations were false. Defendants

knew these representations and promises were false and made them to induce Plaintiffs to enter

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into the Replacement Agreement. Sinclair 3’s false promises made with no intent to perform
accrued in June of 2014 when the promises were breached and repudiated including by Sinclair
3’s express communications that Sinclair 3 was never obligated to perform the essential promises
from the inception of the Replacement Agreement, which Sinclair 3 authored. Plaintiffs relied on
these misrepresentations omissions and false promises that were material to the transaction to
their detriment and sustained damages

Defendants knew that Sinclair l obtained certain rights via the Initial Agreement,
assigned those rights to Sinclair 2, then made materially false representations in the Replacement
Agreement including concealing from or failing to disclose material facts including but not
limited to (1) the assignment of contract rights and license of the seismic data from Sinclair 1 to
Sinclair 2 to Sinclair 3 and (2) that the Sinclair entity negotiating and executing the Replacement
Agreement was Mt_ the same entity that had entered into the Initial Agreement. The false
statements were material and Defendants knew that Plaintiffs were neither aware of the true facts
nor had the equal opportunity to discover those true facts. Defendants’ Silence and/or false
statements were intentional, and Defendants intended Plaintiffs to rely on the silence.
Defendants also made the material misrepresentation that the purpose of the Replacement
Agreement was to reiterate the terms of the lnitial Agreement and include signatures from the
non-operating interest owners for the sake of completeness Defendants also represented that
“Sinclair Oil Corporation” (Sinclair 1) owned a 53.125% interest in the Miller Ranch Lease,
These material misrepresentations were false and were known by Defendants to be false (or at a
minimum were made recklessly without knowledge of their truth). Defendants made these

misrepresentations with the intent that Plaintiffs rely on them; Plaintiffs relied on these

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misrepresentations omissions violating duties to disclose, and false promises that were material
to the transaction to their detriment and sustained damages
4. Conspiracy

Defendants engaged in a civil conspiracy aimed at concealing the existence of the
assignment of contract rights as well as use of the seismic data that was assigned from Sinclair 1
to Sinclair 2 to Sinclair 3, concealing Sinclair 1’s breach of the Initial Participation Agreement,
and misrepresenting the true identity of the entity party to the Replacement Agreement.
Defendants had a meeting of the minds to accomplish their objectives The misrepresentations in
the Replacement Agreement and its attendant documents, misrepresentations in numerous Texas
Secretary of State filings by all three corporate Defendants, failure to file the General
Assignments in Borden and Garza Counties, failure to expressly notify Seismic of the General
Assignments, and the intentional silence by each of the conspirators were overt acts designed to
produce the planned result of the conspiracy-to conceal Sinclair 1’s breach of the Initial
Agreement, to obtain for Sinclair 3 the operations of the Miller Ranch lease (a legal right
belonging only to Sinclair 1 under the Initial Agreement), to secure a tax deferral for Sinclair 3
through an IRS Tax Code §1031 Exchange; and, to permanently defraud Seismic Wells of its
exclusive right to operate the Miller Ranch Lease, without which Defendants could not seek to
capitalize and profit on the value of that right through Sinclair 3’s 2014 repudiation of Seismic’s
right to operate the wells and Sinclair 3’s act of attempting to sell the operations of those wells

5. Business Disparagement

Defendants made disparaging statements about Plaintiffs, which statements Defendants

knew to be false, in order to publicly disparage Plaintiffs These disparaging statements were

made with malice and without prejudice and published in a public forum where they were

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viewed by numerous oil and gas entities who are key players in the oil and gas industry. As a
result, Plaintiffs suffered special damages

6. Involvement and Liabilitv of All Defendants

 

Defendants were co-conspirators and knowingly participated in the activities alleged as
part of their own enterprise, from which each Defendant received financial benefit
7. Causation
All of Defendants’ alleged acts and omissions were a producing and/or proximate cause
of damages to Plaintiffs
8. Damages
Plaintiffs seek actual damages in connection with all causes of action asserted in this
matter, including but not limited to lost profits to which Plaintiffs would have been entitled had
the participation agreements been performed as promised and no fraud occurred. Plaintiffs will
offer testimony from Barry Tranckino and expert testimony as to their actual damages Plaintiffs
also seek actual and/or special damages, including but not limited to the pecuniary loss to
Plaintiffs’ economic interests resulting from Defendants’ business disparagement Finally,
Plaintiffs seek the recovery of attorney’s fees, deposition costs, and expert witness costs as
provided by Tex. Civ. Prac. & Rem. Code §38.001 and pursuant to their claim for statutory
fraud.
9. Exemplary Damages
Plaintiffs also seek exemplary damages based upon Defendants’ fraud, statutory fraud,

conspiracy and business disparagement

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10. Joint and Several Liabilitv

 

Defendants are jointly and severally liable because they are co-conspirators and joint

tortfeasors
B. Defendants’ Contentions:
l. Sinclair contends that all of Seismic Wells’s claims fail because Seismic Wells

cannot meet its burden of proof for at least one element for each cause of action.

2. Seismic Wells’s claims against Sinclair 1 for breach of the Initial Participation
Agreement fail, among other reasons, because: (1) the Agreement did not preclude Sinclair 1
from assigning its interest in the Miller Ranch lease, nor did it require Sinclair 1 to get Seismic
Wells’s pre-approval or provide notice; (2) Sinclair 1 did not sell, trade, or license the seismic
data; and (3) Seismic Wells cannot show that any alleged breaches by Sinclair 1 caused it any
recoverable damages2

3. Moreover, even if Seismic Wells could prove each element of these claims_and
it cannot_it still cannot recover because: (1) Sinclair l’s purported breach was excused when
Seismic Wells agreed to a novation of the Initial Participation Agreement with an assignee
(Sinclair 3); and (2) Seismic Wells’s claims are time-barred.

4. Seismic Wells’s claims against Sinclair 3 for breach of the Replacement
Participation Agreement fail, among other reasons, because: (1) Sinclair 3 did not repudiate the
Agreement as to any right maintained by Seismic Wells; (2) Seismic Wells waived its alleged
right to require Sinclair 3 to drill additional wells on the Miller Ranch lease; (3) Seismic Wells

sold its right to require additional drilling of wells and subsequent-right-to-operate provisions in

 

2 As Sinclair explained in its Response to Plaintiff s Motion for Summary Judgment, Seismic Wells did
not assert any claims against any Sinclair entity for a purported sale, trade, or license of Mr. Tranckino’s
seismic data. As a result, this Court should not permit Seismic Wells to present this claim to the jury.

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2011; and (4) Seismic Wells cannot show that any alleged repudiation caused it any recoverable
damages

5. Seismic Wells’s fraud-based claims fail, among other reasons, because Seismic
Wells cannot prove that: (1) several of the defendants made any representations to it; (2) any
inaccurate statements were material; (3) any defendant knew any statements were false at the
time they were made or that anyone made them recklessly without knowledge of their truth at the
time they were made; (4) any defendant made or failed to make any statement that induced
Seismic Wells to take any action that it would not have taken otherwise; (5) Seismic Wells
actually or justifiably relied on any inaccurate statements; and (6) any purported
misrepresentations caused Seismic Wells any recoverable damages Moreover, even if Seismic
Wells could prove each element of its fraud-based claims_and it cannot_it still cannot recover
because its claims are time-barred.

6. Seismic Wells’s fraud-based claims against Mr. Matthews fail the same reasons
its fraud-based claims fail against the other Sinclair defendants In addition, Seismic Wells’s
fraud-based claims against Mr. Matthews fail, among other reasons, because Seismic Wells
cannot prove that: (1) Mr. Matthews acted in his individual capacity; and (2) Mr. Matthews
directed anyone to make, or knew that anyone made, any inaccurate statements

7. Seismic Wells’s conspiracy claim fails for all the reasons that its underlying
claims fail. Moreover, the conspiracy claim fails because no defendant made an agreement with
another defendant to defraud Seismic Wells. And, even if such an agreement had been made
(and it was not), no defendant took any steps in furtherance of such an agreement Finally, no
purported agreement between two of more defendants caused Seismic Wells any recoverable

damages; and, in any event, Seismic Wells’s conspiracy claim is time-barred.

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8. Seismic Wells’s business disparagement claim fails, among other reasons,
because it cannot prove that: (1) any defendant published any disparaging statements about
Seismic Wells; (2) any defendant published any false statements about Seismic Wells; (3) any
defendant either knew the alleged disparaging statement was false or acted recklessly with regard
to whether it was false; (4) the alleged disparaging statement played any role, let alone a
substantial role, in inducing others not to do business with Seismic Wells; and (5) Seismic Wells
experienced a specific pecuniary loss as a result of an alleged publication of a disparaging
statement

9. Mr. Tranckino’s business disparagement claim fails for the same reasons Seismic
Wells’s business disparagement claim fails In addition, Mr. Tranckino’s business
disparagement claim fails, among other reasons, because he is not legally permitted to assert a
business disparagement claim as an individual.

10. Finally, in addition to the fact that Seismic Wells cannot meet its burden on any of
its claims that are a prerequisite for exemplary damages (including, but not limited, to its burden
to prove compensatory damages), Seismic Wells cannot recover exemplary damages, among
other reasons, because Seismic Wells cannot prove any fraud, malice, or disparagement, or any
intentional misconduct of any sort, by clear and convincing evidence.

2. Statement of Stipulated Facts

 

The parties expect to file a list of stipulated facts as the meet and confer process

continues

3. An Estimate of the Length of Trial

 

The parties estimate the length of the trial will be 5-7 days, but expect to refine their

estimate as the meet and confer process proceeds

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4. List of Any Additional Matters that Might Aid in the Disposition of the Case

 

The parties agree to provide 24-hour notice to the other side of each witness and non-pre-
admitted exhibits they plan to use with such witnesses Both sides will file their respective
exhibit lists, deposition designations, and proposed jury instructions on February 13, 2017.
However, as the parties further participate in the meet and confer process, they plan to prepare:
l) a list of certain exhibits that will be pre-admitted; 2) a set of certain jury instructions and
verdict form questions that are agreed upon by the parties; and 3) a set of certain deposition
designations that are agreed to by the parties Neither side will require the other to authenticate
documents with a records custodian, but both sides reserve the right to object to particular
documents on authenticity grounds if there is a clear reason based on the face of the document
The parties jointly request that a jury charge conference be held at the close of evidence but
before closing arguments In the alternative, the parties jointly request a reasonable period of
time to make objections to the Court’s final jury instructions and verdict form prior to the time

the jury instructions are read to the ju/r%

  
 

SO ORDERED this /7 day Of

 

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s IoR TED sTATES D sr ICT JUDGE

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Dated: February 13, 2017
Respectfully submitted,

/s/ Gary R. Sorden

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CERTIFICATE OF CONFERENCE

 

On multiple occasions, including but not limited to February 13, 2017, counsel for the
parties conferred regarding the above Joint Pretrial Order.

/s/ Gary R. Sorden
Gary R. Sorden

 

CERTIFICATE OF SERVICE

 

I hereby certify that all counsel of record Who are deemed to have consented to electronic
service are being served on February 13, 2017, with a copy of this document via the Court’s
CM/ECF system per Local Rule 5.1(d). Any other counsel of record will be served by electronic
mail, facsimile transmission and/or first class mail on this same date.

/s/ Gary R. Sorden
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